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                                                                                      FILED
                                                                          United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                            December 13, 2024
                          _________________________________
                                                                              Christopher M. Wolpert
                                                                                  Clerk of Court
  UNITED STATES OF AMERICA,

         Plaintiff - Appellee,

  v.                                                             No. 24-1465
                                                      (D.C. No. 1:20-CR-00305-DDD-1)
  MICHAEL AARON TEW,                                              (D. Colo.)

         Defendant - Appellant.
                        _________________________________

                                       ORDER
                          _________________________________

 Before HOLMES, Chief Judge.
                    _________________________________

        This matter is before the court on Appellant’s Motion to Withdraw and Appoint

 Counsel. The district court has made the requisite finding of eligibility for appointment of

 counsel pursuant to 18 U.S.C. § 3006A.

        Upon consideration, the motion is granted. Pursuant to § 3006A, Kari Schmidt is

 appointed as counsel for Mr. Tew. Within 10 days of the date of this order, Ms. Schmidt

 shall file an entry of appearance in this appeal.

        Pursuant to § 3006A, withdrawing counsel is appointed nunc pro tunc to the date

 the notice of appeal was filed in this matter. That appointment ends with the entry of this

 order and withdrawing counsel shall have no further obligations in this appeal except
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 that, within ten days from the date of this order, they shall transmit to Ms. Schmidt 1

 copies of all documents in their possession that are pertinent to this appeal and not

 otherwise available via PACER and/or CM/ECF, including all trial exhibits.

        A designation of record and transcript order forms were filed on December 10,

 2024. Within 20 days from the date of this order, Ms. Schmidt shall file any necessary

 supplemental designation of record or transcript order forms. If a transcript is ordered by

 Ms. Schmidt, she must file a CJA 24 form in the U.S. District Court for the District of

 Colorado. Questions regarding the filing of a CJA 24 form should be directed to the

 district court Clerk’s Office.

        Appellant’s opening brief shall be due 40 days from the date the record on appeal

 is filed in this court. See Fed. R. App. P. 31(a)(1); 10th Cir. R. 11.2(A). The Clerk of the

 U.S. District Court for the District of Colorado shall wait at least 20 days before

 transmitting the record on appeal to this court.

        The Clerk’s Office shall transmit a copy of this order to the Clerk of the U.S.

 District Court for the District of Colorado. Withdrawing counsel shall transmit a copy of




        1
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        Wichita, Kansas 67202
        (316) 264-3300
        karis@fcse.net
                                               2
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 this order to Mr. Tew forthwith.


                                       Entered for the Court



                                       CHRISTOPHER M. WOLPERT, Clerk




                                       3
